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11-28-2023
Judge Chutkin,

My name is Robert Palmer and | appeared before you as a
defendant for my role in the Capital insurrection. You may or may
not remember me. | was one of the first to plead guilty and to my
knowledge one of the first sentenced as well. When | appeared
before my world had just fallen apart due to actions that |
regretted then and | still continue to regret. However | can say that
| feel for two differing reasons. At first | was regretful because |
realized how much my life was going to change and what | was
about to face. Now | regret it for falling for the lie that was
perpetrated on myself and most of our nation. As | reflect on the
last 26 months and | see the lies exposed and the number of lives
changed and some ruined ! am saddened to know that there are
individuals who still hold on to what turned out to be a false
narrative. You may or may not remember my comment to you
during sentencing that | felt that they were getting away with it.
You agreed with me however you mentioned that you were there
to sentence me and not them and that was true then as well as
now. | also mentioned that | am sure that there has been
sentencing discrepancies in how different races are treated now |
have first hand knowledge of that fact. | have met men of minority
status that have received 20 plus year sentences for relatively
small amounts of drugs. Men who more than likely needed
treatment rather than prison but unfortunately the judges hands
were tied. | have met some really good men in here and also
some very bad. | have seen some violence that | never thought |
would see. It has been a very awakening time for me. With that
being said | am prepared to have to be here for the remaining part
of my sentence. | am at peace with whatever it is you decide. |
wanted you to know however that | have made improvements in

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my life. You can see all the courses | have taken and | am
employed in UNICOR working in the shipping department
maintaining shipping schedules and working on the computer to
keep track of deliveries. | have learned a new skill which should
help me when | am released. With these things being said | simply
wanted you to see that | have used my time here productively. |
have tried my best help men who have been in and out of the
SHU (special housing unit) for using drugs. | have done my best to
counsel younger men who have come here very angry and
wanting to get out so they can go ahead and continue with their
old lives. | ask you today to simply reflect on my sentence and
what | have accomplished here. If it gives you a sense that maybe
| should receive time more inline with others of the same crime
that would be a blessing. If not and you choose to stay with your
original sentence that would also be a blessing. | say that because
that means that | still have people in here | need to reach. Thank
you for your time.

Sincerley

Robert Palmer #34938-509
Fcc Coleman Low A-2
Veterans Unit

PO box 1031

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